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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    ROBERT W. RAINWATER, Bar #67212
     Assistant Federal Defender
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4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorney for Defendant
6    KENNETH HENRY McDONALD, JR.
7
8                                  IN THE UNITED STATES DISTRICT COURT
9                                FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )               Case No. 1:07-cr-0049 AWI
                                           )
12                     Plaintiff,          )               STIPULATION TO CONTINUE STATUS
                                           )               CONFERENCE AND ORDER THEREON
13         v.                              )
                                           )               DATE: July 23, 2007
14   KENNETH HENRY McDONALD, JR.           )               TIME : 9:00 a.m.
                                           )               DEPT : Hon. Anthony W. Ishii
15                     Defendant.          )
                                           )
16   _____________________________________ )
17
18          IT IS HEREBY STIPULATED by and between the parties hereto, through their respective counsel
19   of record herein, that the Status Conference in the above captioned matter, scheduled for June 11, 2007,
20   may be continued to July 23, 2007, at 9:00 a.m.
21          The reason for this continuance is to allow counsel for defendant time for further preparation.
22          The parties agree that the delay resulting from the continuance shall be excluded in the interests of
23   justice, including but not limited to, the need for the period of time set forth herein for effective defense
24   ///
25   ///
26   ///
27   ///
28   ///
                Case 1:07-cr-00049-AWI Document 27 Filed 06/10/07 Page 2 of 2


1    preparation pursuant to 18 U.S.C. § 3161(h)(B)(iv).
2            DATED: June 6, 2007
                                                                 MCGREGOR W. SCOTT
3                                                                United States Attorney
4
                                                                 /s/ David L. Gappa
5                                                                DAVID L. GAPPA
                                                                 Assistant U.S. Attorney
6                                                                Attorney for Plaintiff
7
8
             DATED: June 6, 2007                                 DANIEL J. BRODERICK
9                                                                Federal Defender
10
                                                                 /s/ Robert W. Rainwater
11                                                               ROBERT W. RAINWATER
                                                                 Assistant Federal Defender
12                                                               Attorney for Defendant
13
14
                                                             ORDER
15
             IT IS SO ORDERED. Time is excluded pursuant to 18 U.S.C. § 3161. For the reasons stated
16
     above, the court finds that the ends of justice served by the delay outweigh the best interest of the public
17
     and the defendants in a speedy trial.
18
     IT IS SO ORDERED.
19
     Dated:      June 8, 2007                                 /s/ Anthony W. Ishii
20   0m8i78                                             UNITED STATES DISTRICT JUDGE
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     McDonald, Jr. - Stipulation to Continue Status Conference   2
